          Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 1 of 13




1
                                            Exhibit A
2

3                  Proposed Brief of Economists Supporting Dr. Rysman’s
                      “Variety” Model as [Proposed] Amici Curiae
4

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7
     Related to: Motion for Leave To File Brief of Economists as Amici Curiae in Support
8    of Plaintiffs’ Opposition to Defendant’s Motion To Exclude Merits Opinions of Drr.
9    Marc Rysman.
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25
         [PROPOSED] BRIEF OF ECONOMISTS SUPPORTING DR. RYSMAN’S VARIETY MODEL AS AMICI CURIAE
26                         Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD, 3:20-cv-05761-JD
            Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 2 of 13




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6

7

8                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
9                                    SAN FRANCISCO DIVISION

10

11

12   IN RE GOOGLE PLAY STORE                          Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
13
     THIS DOCUMENT RELATES TO:                        [PROPOSED] BRIEF OF ECONOMISTS
14                                                    SUPPORTING DR. RYSMAN’S
     State of Utah et al. v. Google LLC et al.,       “VARIETY” MODEL AS AMICI
15   Case No. 3:21-cv-05227-JD                        CURIAE IN SUPPORT OF STATES’
                                                      AND CONSUMERS’ OPPOSITION TO
16   In re Google Play Store Antitrust Litig., Case   DEFENDANTS’ MOTION TO
     No. 3:21-md-02981-JD                             EXCLUDE MERITS OPINIONS OF DR.
17                                                    MARC RYSMAN
     In re Google Play Consumer Antitrust Litig.,
18   Case No. 3:20-cv-05761-JD
                                                      Judge: Hon. James Donato
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           [PROPOSED] BRIEF OF ECONOMISTS SUPPORTING DR. RYSMAN’S VARIETY MODEL AS AMICI CURIAE
26                           Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD, 3:20-cv-05761-JD
              Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 3 of 13



 1      I.       INTRODUCTION AND INTERESTS OF AMICI1

 2            Proposed amici are three renowned economists: Steven Berry, Ariél Pakes, and Katja Seim.

 3   Throughout their careers, each has demonstrated deep commitment to understanding competition and

 4   to the ongoing project of developing and updating economic tools that push forward the analysis

 5   underpinning effective antitrust enforcement. Amici’s commitment is revealed in their scholarship,

 6   teaching, and government service. In particular, amici are key contributors to the literature providing

 7   the theoretical foundation for many of the economic tools that power modern antitrust enforcement.

 8   This research, and the research that builds on it, regularly influences rulings and outcomes in antitrust

 9   cases.2 Successful antitrust analysis relies on economic tools to reveal how markets function, identify

10   conduct likely to generate anticompetitive effects, and measure the harms attributable to lost

11   competition, among other things.

12            Economic models are perhaps the most important of these tools. A model is, as Google

13   disparagingly asserts, an “abstraction.” Google uses the word “abstraction” pejoratively as if that

14   characteristic is a sufficient reason for exclusion. This is false. Economists understand that models are

15   abstractions both by design and by necessity. By design, models present abstractions of real-life,

16   dynamic systems in that they identify and isolate the key mechanisms by which the major elements in

17   the system affect one another, while ignoring those with less impact on the outcomes being studied.

18   And by necessity, a model provides an abstraction of the counterfactual world because it is not possible

19   to predict in detail and with certainty outcomes in markets we can never observe.3 The simplicity is

20   why model can be used to learn how that system would behave under counterfactual conditions.

21
        1
          No party’s counsel authored this brief in whole or in part and no person contributed money
22   intended to fund its preparation or submission. Cf. Fed. R. App. P. 29(a)(4)(E). Nothing in this brief or
     the motion for leave to file it represents the views of the Yale Law School or Yale University, if any,
23      2
          Additional information about each economist can be found in an Appendix X, which appears on
     the page after the signature block.
24      3
          To abstract (v.) is “to make a summary or abstract of”; an abstract (n.) in turn, is “something that
     summarizes or concentrates the essential elements of a larger thing.” To abstract (v.) also is to
25

26           [PROPOSED] BRIEF OF ECONOMISTS SUPPORTING DR. RYSMAN’S “VARIETY” MODEL AS AMICI CURIAE
                                      Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
             Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 4 of 13



1           Amici have an interest in the motion to exclude Dr. Rysman’s testimony. A ruling crediting

2    Google’s two, core critiques—that the variety model is a mere “abstraction” and that innovation harms

3    aren’t the proper subjects of modeling in any event—could undermine the use of economic models

4    generally and spell the end for models that identify or quantify innovation harms in particular.

5           Google complains that the variety model relies on assumptions that ignore various complexities

6    and conflict with certain market facts. But that critique alone cannot justify exclusion. All model-based

7    testimony would then be at risk of exclusion, because all models use assumptions that describe reality

8    only imperfectly. Moreover, all antitrust cases require a comparison of the features and outputs of a

9    real, operating market to the features and outputs we predict the market would generate were it

10   operating under counterfactual conditions. This thought experiment requires a model, else courts will

11   have nothing to base their predictions on but hunch, intuition, or even implicit bias.

12          The use of models in antitrust to predict the counterfactual is therefore well established.

13   Moreover, the economic literature has for decades confirmed that the tools and methods economists

14   use to build models for antitrust cases—including assumptions that simplify the complexity of real-life

15   markets by abstracting only their key features—produce reliable results. Excluding economic models

16   because they are “abstractions” would upend all of this.

17          As strong proponents of models and their use in antitrust, we defend Dr. Rysman’s model

18   against Google’s grab bag of grievances, in addition to defending it against the core grievances. We

19   focus on those grievances that are economic in nature at least in part and that relate to economic

20   models of choice, innovation, and variety.

21

22   “consider apart from application to or association with a particular instance,” and something may
     properly be described as abstract (adj.) if it is “disassociated from any specific instance.” See Abstract,
23   MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/abstract. Together,
     these definitions suggest an abstraction should be understood as a representation that gives attention
24   and prominence to a thing’s essential elements while isolating those elements from surrounding noise
     and distracting complexity.
25
           [PROPOSED] BRIEF OF ECONOMISTS SUPPORTING DR. RYSMAN’S “VARIETY” MODEL AS AMICI CURIAE
26                                  Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
                                                          2
                Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 5 of 13



1        II.       ARGUMENT

2                  A. Innovation increases welfare by driving quality and variety improvements;
                      reducing it shrinks welfare, causing economic harm to consumers; innovation
3                     harms are therefore a proper subject of modeling.

4               Google’s motion, taken as a whole, portrays the harms attributable to reduced innovation as

5    trifling and unworthy of serious attention or modeling. Google is well out of bounds with this position,

6    however. Economics has long recognized the connection between innovation and welfare, and the

7    increasing digitization of consumer goods and services will only elevate the importance of innovation-

8    based competition relative to competition based on price. It therefore is important to develop models

9    that explain and quantify innovation’s effects on welfare in particular markets.

10                     (1) The connection between innovation and welfare is long established.

11              For more than half a century, economists have recognized that innovation, in product quality

12   and variety, drives productivity growth and raises living standards. Robert Solow won a Nobel Prize

13   for his decades-long contribution to the study of innovation and its importance to productivity,

14   economic growth, and consumption.4 Professor Solow’s empirical research and that of hundreds of

15   subsequent empirical researchers confirms the tremendous impact of innovation on consumer welfare.5

16              Firms innovate to win customers; they do this because customers value quality improvements

17   and variety. Innovation-based competition takes on special significance in digital markets in which so

18   many digital products and services are sold for a non-cash price (sometimes erroneously described as

19   “free”). Innovation-based competition is not new, of course; it predates the rise of modern digital

20   platforms in familiar products such as broadcast TV and terrestrial radio.

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     4
       Royal Swedish Academy of Sciences, Press Release: The Sveriges Riksbank Prize in Economic
22
     Sciences in Memory of Alfred Nobel:1987, https://www.nobelprize.org/prizes/economic-
     sciences/1987/summary/
23   5
       Kevin A. Bryan, Heidi L. Williams, Innovation: Market Failures and Public Policies, Editors: Kate
     Ho, Ali Hortaçsu, Alessandro Lizzeri, Handbook of Industrial Organization, Elsevier, Volume 5, Issue
24
     1, 2021, Pages 281-388, ISSN 1573-448X, ISBN 9780323988872,
     https://doi.org/10.1016/bs.hesind.2021.11.013.
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               [PROPOSED] BRIEF OF ECONOMISTS SUPPORTING DR. RYSMAN’S “VARIETY” MODEL AS AMICI CURIAE
26                                      Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
                                                           3
               Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 6 of 13



1             Given the bedrock economic truth that competition often manifests through innovation and its

2    consequent improvements in quality and variety, it is not surprising that courts regularly acknowledge

3    innovation as a dimension of competition.6 Consider how innovation spurred by the competition

4    between rival suppliers has produced new medical treatments, better seeds, more powerful

5    semiconductor chips, safer cars, and countless other products we enjoy every day. That these

6    improvements in choice and quality contribute massively to welfare is obvious. It also is obvious, and

7    unquestioned in the modern literature, that a reduction in innovation reduces welfare. Given the robust

8    body of evidence of the value of innovation, it is incumbent on enforcers and courts to consider the

9    impact of conduct in particular cases on innovation. A blind spot for innovation impacts risk subjecting

10   consumers, and all of society, to significant welfare losses. Economic models that help identify and

11   quantify innovation harms are therefore vital.

12                    (2) Innovation harms (including reduced quality or variety) are economic harms.

13          Google argues that the variety model is irrelevant to the proceedings because it measures only

14   emotional harm that is neither cognizable nor compensable under the Clayton Act. We are not experts

15   in what the Clayton Act requires as proof of injury and damage. But to the extent Google’s argument

16   depends in any way on the assertion that lost innovation causes only noneconomic harm, or on the

17   assertion that the variety model described in Dr. Rysman’s expert report (putting to the side for now

18   how anyone may have described it in deposition) predicts only emotional harm, we flatly reject it

19   because both assertions are inarguably wrong.

20          there simply is no dispute among economists that innovation contributes to consumers’ economic

21   welfare and that suppressing it lowers quality and decreases variety, which reduces welfare and

22   imposes economic harm. We continue to develop methods for measuring and predicting the magnitude

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24      6
          See States’ Opposition to Motion To Exclude Merits Opinions of Dr. Rysman (Dkt. 512) at 11-12 (collecting
     cases); see also id. at 12 (citing Horizontal Merger Guidelines).
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             [PROPOSED] BRIEF OF ECONOMISTS SUPPORTING DR. RYSMAN’S “VARIETY” MODEL AS AMICI CURIAE
26                                    Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
                                                            4
             Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 7 of 13



1    of innovation harms. This project is far from simple, though consensus principles informing it all

2    assume or confirm the economic nature of the harms at issue. Economic tools can clearly demonstrate

3    how lessened innovation is an economic harm, just as a higher price is. In a typical price harm, the

4    demand curve stays fixed but the price increases, shrinking consumer surplus. Innovation affects

5    consumer surplus differently, but no less directly. Improved products raise the demand curve because

6    products create more value for users, thereby expanding the size of the area of surplus. Constraints on

7    innovation do the opposite, shifting the demand curve down and shrinking that surplus. The takeaway

8    here is that a higher price or lessened innovation both hurt consumers. It is not the case that price

9    increases shrink surplus whereas lost innovation harms hurt feelings. Rather, each can be shown within

10   the same model because they are both economic losses.

11       Economists measure consumer welfare using a metric called “utility,” a term of art that accounts

12   for all product characteristics a consumer values. “Happiness” is not a term of art in economics, but, by

13   analogy, can help explain utility to non-economists. This is because happiness, like utility, also can be

14   understood as a measure affected by the influence of a broad range of factors that can include financial

15   health, reliability of tools confer various forms of benefits. The variety model predicts the utility of the

16   set of apps that would have been released but for Google’s conduct, the loss of which serves as proxy

17   for lost welfare. Under questioning, Dr. Rysman agreed that, because happiness and utility are

18   analogous, one way to understand the variety model is as an attempt to predict lost happiness. In

19   context, it is clear Dr. Rysman agreed that his model predicts happiness in the broad sense, a sense that

20   includes outcomes like financial well-being and the functionality and attributes of physical

21   possessions. Reducing that sort of happiness plainly results in more than just hurt feelings. Second, the

22   model may predict emotional harm, but mainly predicts economic harm, as can be seen by the factors

23   it includes and measures.

24              B. Economic models strip away complexities to reveal how elements in complex
                   systems interact; none is perfect; new markets demand new models.
25
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26                                  Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
                                                          5
               Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 8 of 13



1
                      (1) All models are abstractions that that we seek constantly to improve.
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               As noted above, a model is designed to be an abstraction. Use of a model is best practice and
3
     necessary for an economist to achieve a reliable answer to any question that requires knowing the
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     impact of counterfactual conduct. As the discipline progresses, our models and counterfactuals have
5
     gotten better. Models that enabled counterfactual predictions of price were the first to be invented
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     because that setting is somewhat simpler than innovation. Subsequent work has been done on
7
     analogous models of entry, innovation, and product variety.7 More detailed demand models have been
8
     used in many legal proceedings and vertical models have been used extensively to evaluate the impacts
9
     of mergers in vertical markets.8 Modeling the impact of conduct or market structure on either R&D
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     expenditures or the resulting new products requires incorporating the forward-looking behavior of
11
     firms.9
12
               The economic literature contains long-established and robust ways of modeling the way
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     innovation benefits end consumers. Essentially, when a consumer makes a choice to consume a
14
     particular product, he or she is choosing from among options that have different qualities, features,
15
     novelty, and prices. If one available choice incorporates a new innovation that consumers like, that
16
     product will gain sales and market share. The consumers who choose it are better off, as evidenced by
17
     the fact that they moved away from a choice that had previously offered the most utility. Of course,
18
     there may be minor features of products that increase consumer utility very little, as well as major ones
19

20      7
          See, e.g., Katja Seim, et al., The Welfare Consequences of Mergers with Product Repositioning, 66
21   Journal of Industrial Economics (2018); Katja Seim et al., Quantifying the Benefits of Entry into Local
     Phone Service, 38 RAND Journal of Economics (2008).
     8
22     E.g., Steven C. Solop, Invigorating Vertical Merger Enforcement, 127 Yale L.J. 1742 (2018) (arguing
     improvements in modeling has lent certainty to settings that currently were not amenable to valid
23   predictions).
     9
       E.g., Chaim Fershtman & Ariel Pakes, Dynamic Games with Asymmetric Information: A Framework
24   for Empirical Work, the Quarterly Journal of Economics 1 (2012).

25
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26                                   Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
                                                          6
             Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 9 of 13



1    that increase consumer welfare significantly. In general, innovation that generates products consumers

2    want to buy naturally increases consumer welfare.

3                   (2) Modern techniques allow for the quantitative estimation of parameters in
                        models of innovation
4
            More recently, economists have developed estimation methods for these models that allow
5
     researchers to quantify how much consumers benefit from particular innovations and features. An
6
     innovation model is guided by the behavior of consumers; when consumers value an innovation, they
7
     purchase it instead of a less innovative product. The innovation could be technology or something as
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     simple as a new location near the consumer, or a new combination of existing features that appeals to
9
     consumer tastes. By measuring which products are chosen, the econometrician can back out which
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     attributes are valued by consumers, and how different customers value attributes differently.
11
     The estimated parameters can be used to quantify outcomes in a counterfactual setting that cannot be
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     measured directly. The first powerful economic models that allowed for counterfactual studies of price
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     tackled demand estimation. The next generation of modeling showed how to handle differentiated
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     products, a common type of competition in the economy.10
15
            These models (often referred to as “BLP” due to the seminal article) are used extensively in
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     merger analysis because they allow the impact of the merger on price to be simulated. Another branch
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     of the literature models consumer benefits from the introduction of innovations and the incentives of
18
     firms to enter.11 Estimation followed by scholars such as Ariel Pakes, Matthew Gentzkow, and Joel
19
     Waldfogel who studied consumer choice but allowed entry in markets such as newspapers,
20
     telecommunication equipment, songs, and apps.12 This work and others shows that there are a series of
21

22   10
        See Berry, Steven, “Estimating Discrete Choice Models of Product Differentiation,” RAND
     Journal of Economics, Summer 1994, 23 (2), 242–262.
23   11
        See Goolsbee and Petrin ”The Consumer Gains from Direct Broadcast Satellites and the Competition
     with Cable Television” Econometrica 72(2), March 2004, 351-381.
24   12
        Competition and Ideological Diversity: Historical Evidence from US Newspapers” (with Jesse M.
     Shapiro and Michael Sinkinson). American Economic Review. 104(10). October 2014.
25
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                                                         7
             Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 10 of 13



1    increasingly sophisticated ways of measuring the impacts of increased variety and quality on consumer

2    welfare in particular industries.13 In light of the extensive and well-known economic literature that has

3    developed in this area, the variety model is reasonable and reliable.

4    III. CONCLUSION

5
             We have explained that abstract modeling is an essential tool for an economist and such
6
     modeling requires assumptions and factual inputs. Models will never be crafted to include each
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     individual data point. Averages and simplifying assumptions render the empirical problem tractable
8
     and plausible. Despite their abstraction, they may be a good approximation of the damage estimate
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     needed. A model’s assumptions can be tested against data for their validity and such analyses
10
     presented in court.14
11

12

13
              Dated: May 26, 2023                        Respectfully submitted,
14

15

16                                                       By: ____________________________

17                                                       DAVID C. DINIELLI (CA Bar No. 177904)
                                                         Tech Accountability & Competition Project,
18                                                             a division of the MFIA Clinic

19                                                       Counsel for Economists Supporting Dr. Rysman’s
                                                         Variety Model as Amici Curiae
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21   13
        These range from obtaining bounds on the gains to quality and variety, to more sophisticated models which provide
     direct measures of gains in consumer welfare. For example, a lower bound to the gains from the increasing variety can be
22   obtained from the value of the time spent by consumers on the products in addition to the purchase price. For an example
     see “Internet Rising, Prices Falling: Measuring Inflation in a World of e-Commerce,” (Goolsbee and Peter Klenow), AEA
23   Papers and Proceedings, May 2018, 108: 488–492.
     14
        See the reviews by Doraszelski U, Pakes A. A Framework for Applied Dynamic Analysis in IO. In: Armstrong M, Porter
24   R The Handbook of Industrial Organization. Vol. 3, New York: Elsevier ; 2007. pp. Chapter 33 2183-2162 and Dynamic
     Games in Empirical Industrial Organization, Victor Aguirregabiria, Allan Collard-Wexler and Stephen Ryan, forthcoming
     in the Handbook of Industrial Organization (September 2021).
25
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26                                   Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
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      Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 11 of 13



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26                            Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
                                               9
            Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 12 of 13



 1

 2     Appendix A
 3
        Steven Berry is the David Swensen Professor of Economics and Jeffrey Talpins Faculty Director of
 4   the Tobin Center for Economic Policy at Yale University. He specializes in the empirical analysis of
     markets in equilibrium and the dynamic analysis of industries, is a winner of the Frisch Medal of the
 5   Econometric Society and is an elected member of the American Academy of Arts and Sciences.

 6      Ariél Pakes is the Thomas Professor of Economics at Harvard University. He has developed wide
     ranging tools and models used by government agencies and others to explain how dynamic systems
 7   respond to environmental and input changes and has won the Nemmers Prize in Economics for his
     "fundamental contributions” to the empirical study of market power, prices, mergers, and productivity.
 8
        Katja Seim is the Sharon Oster Professor of Economics and Management at Yale University with
 9
     joint appointments in the School of Management and the Department of Economics. She studies firms’
     responses to competition policy and the interplay between market power and the outcomes of
10
     government auctions, was chief economist at the Federal Communications Commission, and is co-
11   editor of the American Economic Review.

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                                    Case Nos. 3:21-md-02981-JD; 3:21-cv-05227-JD
            Case 3:21-cv-05227-JD Document 404-1 Filed 05/26/23 Page 13 of 13



1                                          E-FILING ATTESTATION

2           I, David C. Dinielli, am the ECF User whose ID and password are being used to file this

3    document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the signatories

4    identified above has concurred in this filing.

5

6                                                     By: _______________________________

7                                                     DAVID C. DINIELLI (CA Bar No. 177904)
                                                      Tech Accountability & Competition Project,
8                                                           a division of the MFIA Clinic
9
                                                      Counsel for Economists Supporting Dr. Rysman’s
10                                                    Variety Model as Amici Curiae

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